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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERlCA

v. : (False Statements, 18 U.S.C. §
1001)
'TODD ANDREW LEASURE,
Del`endant. 3
...00000...
INFORMATION
COUNT 1
(Falsc Statements)

The United States Attorney for the Distxict of Maryland charges that at all times relevant
to this lnformation:

l. 'l`he National Security Agency (“NSA”} was a component of the United States
Department of Defense, which was part of the executive branch of the United States governmentl

2. The NSA contracted with an outside company (“Contractor A") for the provision
of information technology services, including onsite database administrators employed by
Contractor A.

3. Defenclant TODD ANDREW LEASURE was a resident of Orlando, Florida.

From in or about Febmary 2014 to in or about February 2017, LEASURE was employed on a

full-time basis by Contractor A to work as a database administrator pursuant to the contract

between the NSA and Contractor A (“the Services Contract”). LEASURE’s duty station with
respect to the Services Contract was Friendship Annex Building 3, an NSA facility located in
Linthicum I-leights, Maryland. LEASURE routinely traveled li‘om Florida to Maryland to

perform his responsibilities under the Serviccs Contract.

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4. Contractor A required LEASURE to submit timesheets in electronic form. ln
those timesheets, LEASURE was required to provide date- and task-specific entries stating the
number of hours he had worked on the Services Contract. Based on those entries, Contractor'A
periodically invoiced the NSA for the hours that LEASURE claimed to have worked.

5. The NSft paid Contractor A between $247 and $280 per hour for the hours that
LEASURE claimed to have worked under the Services Contract. _

6. From on or about February 3, 2014 to on or about February 17, 201 7, LEASURE
submitted, and caused to be submitted, false timesheets to Contractor A in which he claimed to
have worked 1,533 hours more than he had actually worked on the Services Contract. The
timesheets included entries for 33 separate days in which I..EASURE represented that he had
worked an average of 6.9 hours when, in fact, he had not worked at all on those days. Cont:ractor
A, in tum, submitted invoices to the NSA for all of the hours that LEASURE claimed to have
worked, but in fact, had not worked on the Services Contract.

7. Based on the invoices that Contractor A submitted to the NSA for the hours that
LEASURE claimed to have worked, but in fact, had not worked on the Serviees Contract, the
NSA overpaid Contractor A by at least $250,000.

The False Statement
8. In or about October and Novernber 2015, in the District of Maryland,
TODD ANDREW LEASURE,
the Def`endant herein, knowingly and willfully, in a matter within the jurisdiction of the NSA,
made materially false, fictitious and fraudulent statements and representations, in that he submitted
a timesheet to Contractor A in which he claimed to have worked 30 hours on the Services Contract
between October 27 and October 29, 2015, when as he then well knew, he had not worked on the

Services Contract for such hours.

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18 U.S.C. § 1001

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ROBERT K. HUR
United States Attorney

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Date

